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 (Motion for Pro Hac Vice Pending (waiting on updated Certificate of Good Service
 from Tennessee))

 Attorneys for Defendants Kate Krawczyk and Physician ROI, LLC




  UNITED STATES DISTRICT COURT FOR THE CENTRAL DISTRICT OF
                         CALIFORNIA


 ––––––––––––––––––––––––––––––X


 INTERNATIONAL CELL SURGICAL SOCIETY ET
 AL.,

                    Plaintiffs,

                                                 Case No. 5:23-cv-00698-DOC-KK

                    v.

 KATE KRAWCZYK ET AL.,

                    Defendants.

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      DEFENDANTS’ MOTION FOR LEAVE TO EXTEND THE TIME TO FILE
            ATTORNEY MCKAY’S PRO HAC VICE APPLICATION


        COMES NOW, Plaintiffs Kate Krawczyk and Physician, ROI, LLC, and

 moves this Court for leave to extend the current deadline for Plaintiffs’ attorney

 Casey Scott McKay to submit his updated Certificate of Good Standing in support of

 his Pro Hac Vice Application, and, in support thereof, states as follows:


 1.     Mr. McKay mailed in his second request for a Certificate of Good Standing to

        the Tennessee Supreme Court on 03 June 2023 and is expecting the

        Certificate of Good Standing to come in the mail any day now.


 2.     Mr. McKay will resubmit his updated Pro Hac Vice Application, including the

        up-to-date Certificate of Good Standing as soon as the Certificate is returned

        from the Tennessee Supreme Court to Mr. McKay.


 3.     Accordingly, Defendants request this Court extend the deadline for

        Defendants to submit Mr. McKay’s updated Pro Hac Vice Application with

        the up-to-date Certificate of Good Standing by fourteen days, to 29 June

        2023.


        Dated: 15 June 2023




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                            CERTIFICATE OF SERVICE


       I hereby certify that a copy of the foregoing was filed using this Court’s

 CM/ECF notification service, which sent notification of such filing to all pro se

 parties and counsel of record on 15 June 2023.


       Dated: 15 June 2023


                                                       BY: /s/LILLIAN KHOSRAVI/
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